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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


OCA – ASIAN PACIFIC AMERICAN AD-
VOCATES,

                  Plaintiff,
                                                        Civil Action No. 25-287 (TJK)
         v.

MARCO RUBIO et al.,

                  Defendants.


                                STANDING ORDER IN CIVIL CASES

         It is the responsibility of the parties, counsel, and the Court to “secure the just, speedy, and
inexpensive determination of every action and proceeding” in federal court. Fed. R. Civ. P. 1. To that
end, it is hereby ORDERED that the parties shall comply with the following directives:

    1.        Local Rules

              Absent a contrary order of the Court, all parties, including those proceeding pro se,
              shall comply with the Rules of the U.S. District Court for the District of Columbia
              (“Local Civil Rules”), which are available at https://www.dcd.uscourts.gov/court-
              info/local-rules-and-orders/local-rules.

    2.        Communications with Chambers

              Except as authorized in this order, parties may not contact chambers by telephone. Ex
              parte communication with the Court, including through law clerks, is prohibited. If
              extraordinary circumstances or emergencies so require, however, counsel may contact
              chambers jointly via conference call. Chambers will not provide legal advice of any kind.
              Parties may also contact the Courtroom Deputy Clerk, Katrina Harris, at Katrina_Har-
              ris@dcd.uscourts.gov or (202) 354-3495, with scheduling inquiries about the case.

    3.        Service of the Complaint and Standing Order

              Plaintiff shall promptly serve the Complaint in accordance with Federal Rule of Civil
              Procedure 4; shall file the proof of service with the Court, in accordance with Local
              Civil Rule 5.3; and shall ensure that all parties receive a copy of this Standing Order.
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   4.         Removed Actions

              A Defendant removing an action to this Court must refile as a supplement to the Notice
              of Removal the original Complaint and any Answer and must promptly ensure that all
              Parties receive a copy of this Standing Order. In order for any motion pending at the
              time of removal to be considered, it must be refiled in this Court by the party seeking
              relief within 7 days after this Standing Order is filed.

   5.         Court Proceedings

              Unless otherwise indicated, all proceedings will be conducted in Courtroom 11 on the
              fourth floor of the E. Barrett Prettyman United States Courthouse, 333 Constitution
              Avenue, N.W., Washington, D.C. 20001. When the Court orders proceedings to pro-
              ceed telephonically, each party must contact the Courtroom Deputy at (202) 354-3495
              at least one business day in advance to make arrangements to appear.

   6.         Electronic Filing

              Except as provided for in Local Civil Rule 5.41 or with prior leave of Court upon good
              cause shown, the parties shall file all documents electronically. All electronically filed
              documents shall be filed in text-searchable Portable Data Format (PDF). Exhibits that
              must be scanned because they exist only in paper format should, if possible, be submit-
              ted as text-searchable files using Optical Character Recognition (OCR) technology,
              available in Adobe Acrobat. All electronically filed documents and exhibits shall be
              clearly titled, and exhibits shall be filed as separate documents. The Court may take
              into consideration technical difficulties experienced by a filer when presented a late
              filing. However, parties who wait until the last minute to begin filing are warned that
              technical difficulties do not necessarily constitute “good cause” or “excusable neglect”
              justifying an extension of an applicable deadline. Fed. R. Civ. P. 6(b). Further, no
              allowance can be made for late filing documents whose time limits are jurisdictional.

   7.         Amended Pleadings

              Any amended or proposed amended pleadings shall be accompanied by a redline com-
              parison of the original and amended or proposed pleading.

   8.         Initial Scheduling Conference and Scheduling Order

              After an Answer is filed, for those cases covered by Federal Rule of Civil Procedure
              26(f) and Local Civil Rule 16.3, the Court will set an Initial Scheduling Conference
              and order the parties to meet and confer to discuss the matters set forth in Local Civil



        1
          For example, parties proceeding pro se who do not have Case Management/Electronic
Case Files (CM/ECF) System access are excused from the electronic filing requirement. See LCvR
5.4(e)(2).


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        Rule 16.3(c), and to jointly file a report addressing them. Following the Initial Sched-
        uling Conference, the Court will issue a Scheduling Order governing further proceed-
        ings in the case.

9.      Rescheduling Hearings

        Requests to reschedule hearings are discouraged. If a party seeks to change a previ-
        ously scheduled hearing date, that party shall meet and confer with the opposing party
        and file a motion at least one week prior to the scheduled hearing that shows good cause
        and proposes four alternative dates and times that would be convenient for all parties.
        If the suggested dates and/or times are not available on the Court’s calendar, the Court
        will select an alternative date and/or time. In the event that the Court is closed or has
        a delayed opening due to inclement weather or an unforeseen emergency, affected hear-
        ings will be rescheduled by the Courtroom Deputy Clerk. If a party cannot comply
        with this one-week requirement, it shall explain why it cannot do so in its motion.

10.     Motions for Extensions of Time

        Motions for extensions or enlargements of time are discouraged. Such motions will be
        granted only upon motion and not upon stipulation of the parties. Such motions shall
        be filed at least four days prior to the deadline at issue and conform with the require-
        ments set forth in this section. If a party cannot comply with this four-day requirement,
        it shall explain why it cannot do so in its motion. Motions for extension of time shall
        include the following: (1) the original date of the deadline the motion is seeking to
        extend; (2) the time requested for the extension; (3) the number of previous extensions,
        if any, granted to each party; (4) good cause supporting the extension; (5) the effect, if
        any, that the granting of the extension will have on other previously-set deadlines; (6)
        a proposed schedule for any other affected deadlines, to be proposed only after con-
        sulting with opposing counsel; and (7) a statement of whether opposing counsel op-
        poses the motion in accordance with Local Civil Rule 7(m). If a party intends to file
        an opposition, it shall do so by 5:00 p.m. the business day after the motion is filed.

11.     Other Non-Dispositive Motions

        a.     Duty to Confer

               All non-dispositive motions shall comply with Local Civil Rule 7(m), which
               applies to all non-incarcerated parties. The Court may deny any non-dispositive
               motion that fails to include the required statement.

        b.     Motions for Admission Pro Hac Vice

               All motions for admission pro hac vice shall comply with the requirements of
               Local Civil Rule 83.2(d). The Court may deny any such motion that fails to
               provide all required information.




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            c.     Motions for Protective Order

                   All motions for protective order shall: (1) include as an attachment the proposed
                   order, and (2) explain why good cause exists to enter the proposed order, see
                   Fed R. Civ. P. 26(c); Klayman v. Judicial Watch, Inc., 247 F.R.D. 19, 22–23
                   (D.D.C. 2007).

            d.     Motions to Seal

                   Absent specific statutory authority, a proposed sealed document in an otherwise
                   unsealed case must be accompanied with a motion to seal in accordance with
                   Local Civil Rule 5.1(h) and be filed pursuant to the procedures established by
                   the Clerk’s Office. Any motion for leave to file under seal shall: (1) explain
                   why sealing specific information is justified in light of the factors set forth in
                   United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980); (2) propose redac-
                   tions or explain why redactions are sufficiently impracticable to outweigh the
                   presumption of public access; and (3) include as a separate exhibit each docu-
                   ment sought to be sealed. Parties may not justify sealing solely on the basis
                   that information is covered by a protective order. When proposing redac-
                   tions, parties shall also file an unredacted copy of the document with the pro-
                   posed redacted portions highlighted.

12.         Motions for Summary Judgment

            For those cases covered by Local Civil Rule 7(h)(1), each party submitting a motion
            for summary judgment shall comply with it by submitting a statement of material facts
            for which that party contends there is no genuine dispute, with specific citations to
            those portions of the record upon which the party relies in fashioning the statement.
            The party opposing the motion shall, in turn, submit a statement enumerating all mate-
            rial facts which the party contends are genuinely disputed and thus require trial.

            The Court strictly enforces Local Civil Rule 7(h)(1) when resolving motions for sum-
            mary judgment and will “assume that facts identified by the moving party in its state-
            ment of material facts are admitted, unless such a fact is controverted in the statement
            of genuine issues filed in opposition to the motion.” LCvR 7(h)(1); see also Fed. R.
            Civ. P. 56(e). In addition, the parties are encouraged to carefully review Jackson v.
            Finnegan, Henderson, Farabow, Garrett & Dunner, 101 F.3d 145 (D.C. Cir. 1996);
            the Court may strike statements of material fact that do not conform to the rules or do
            not comply with the below instructions.

            The parties shall follow these instructions when briefing motions for summary judg-
            ment and filing statements of material facts:2




      2
          Sample statements are provided as attachments to this Standing Order.


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        a.     Movant’s Statement of Material Facts Not in Dispute

               The party moving for summary judgment shall, in accordance with Local Civil
               Rule 7(h)(1), file a short and concise statement of material facts for which it
               contends there is no genuine dispute. This document shall be formatted as a
               two-column table entitled “Statement of Material Facts Not in Dispute.” In the
               left column, the moving party shall list in separately numbered rows concise
               statements of each material fact it contends is not in dispute, supported by cita-
               tions to the record. The statement must contain only one undisputed factual
               assertion per numbered row. Following the filing of this document, the moving
               party shall promptly provide an electronic copy in editable format to the oppos-
               ing party.

        b.     Opponent’s Counter-Statement of Disputed Facts

               The party opposing summary judgment shall, in accordance with Local Civil
               Rule 7(h)(1), file a statement setting forth all material facts that the party con-
               tends are genuinely disputed and thus require trial. This document shall be
               formatted as a two-column table entitled “Counter-Statement of Disputed
               Facts.” In the left column, the opposing party shall include the list of material
               facts that the movant contends are not in dispute, with the movant’s citations to
               the record. In the right column, the opposing party shall indicate whether each
               corresponding fact in the left column is admitted or denied, and for those de-
               nied, provide specific citations to the record. If the fact is admitted in part and
               denied in part, the opposing party shall specifically identify which parts are ad-
               mitted and which are denied, with appropriate citations to the record. The op-
               posing party shall also include any information relevant to its response in the
               right column, again, with specific citations to the record. If the opposing party
               has additional facts that do not directly correspond to its response to a specific
               paragraph, it must identify such facts in consecutively numbered rows in the
               right-hand column at the end of its responsive statement of facts. Following the
               filing of this document, the opposing party shall promptly provide an electronic
               copy in editable format to the moving party.

        c.     Movant’s Reply to Counter-Statement of Disputed Facts

               The moving party shall file a statement responding to any additional facts that
               the party opposing summary judgment has identified. This document shall be
               formatted as a two-column table entitled “Reply to Counter-Statement of Dis-
               puted Facts.” In the corresponding spaces in the left column, the moving party
               shall respond to the opposing party’s additional facts with appropriate citations
               to the record.

13.     Courtesy Copies

        The moving party shall deliver to chambers two copies of a binder containing all the
        motion papers for (a) any motion for which the total combined submissions from both


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           parties, including exhibits, exceeds 100 pages in total length, or (b) any motion for
           summary judgment, at the time the reply is filed. In the case of cross-motions, the
           initial moving party shall provide courtesy copies for the full set of briefing. Courtesy
           copies should include the headers added by the Case Management/ Electronic Case
           Files (CM/ECF) System and be submitted in binders, three-hole punched, printed dou-
           ble-sided. Briefs and exhibits shall be tabbed and indexed for ease of reference. If
           hand delivered, courtesy copies should be delivered to the loading dock for screening
           and should not be delivered directly to chambers. If the parties have redacted or filed
           under seal any portion of the motion papers or attendant exhibits, courtesy copies shall
           be unredacted, but the portions redacted from public filings should be highlighted, so
           that the Court will know to refrain from quoting those passages in opinions and orders.
           Pro se parties are excused from complying with the courtesy-copy requirement.

   14.     Discovery

           The parties are expected to fully comply with Local Civil Rule 26.2. Moreover, counsel
           are required, under both Federal Rule of Civil Procedure 26(f) and Local Civil Rule
           7(m), to confer in good faith in an effort to resolve any discovery dispute before bring-
           ing it to the Court’s attention. The parties shall not file a discovery motion without
           prior consultation with opposing counsel, and without leave of Court. If the parties
           are unable to resolve a discovery dispute, counsel shall contact Chambers jointly in
           order to arrange for a telephone conference with the Court.

   15.     Settlement

           The parties are expected to evaluate their respective cases for purposes of settlement.
           The Court encourages the use of alternative dispute resolution—e.g., mediation or neu-
           tral case evaluation. The use of these methods is available at any time, as is a settlement
           conference before a magistrate judge. If counsel are interested in pursuing these op-
           tions, they may contact Chambers at any time. If the case settles in whole or in part,
           counsel shall promptly advise the Court.

         SO ORDERED.

                                                              /s/ Timothy J. Kelly
                                                              TIMOTHY J. KELLY
                                                              United States District Judge

Date: January 31, 2025




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  ATTACHMENT 1: SAMPLE STATEMENT OF MATERIAL FACTS NOT IN DISPUTE


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


[NAME(S)],

              Plaintiff(s),

      v.                                          Civil Action No. __-___ (TJK)

[NAME(S)],

              Defendant(s).


     [DEFENDANT’S] STATEMENT OF MATERIAL FACTS NOT IN DISPUTE

1. Plaintiff began working at [Federal
Agency] on [date] as an [title of position].
Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X;
Def.’s Dep. Tr. at X.
4. Plaintiff received five disciplinary notices
during the time she was supervised by [name
of supervisor]. Def.’s Dep. Tr. at X.
5. Plaintiff was dismissed from her position
on [date]. Pl.’s Dep. Tr. at X; Def.’s Dep. Tr.
at X.
6. Plaintiff’s dismissal was based solely on
her failure to report to work at her designated
reporting time. Def.’s Dep. Tr. at X.
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ATTACHMENT 2: SAMPLE COUNTER-STATEMENT OF DISPUTED MATERIAL FACTS


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


[NAME(S)],

              Plaintiff(s),

      v.                                             Civil Action No. __-___ (TJK)

[NAME(S)],

              Defendant(s).


   [PLAINTIFF’S] COUNTER-STATEMENT OF DISPUTED MATERIAL FACTS

1. Plaintiff began working at [Federal            1. Admitted.
Agency] on [date] as an [title of position].
Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.     2. Admitted.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with        3. Admitted.
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X;
Def.’s Dep. Tr. at X.
4. Plaintiff received five disciplinary notices   4. Denied. Plaintiff received four, not five writ-
during the time she was supervised by [name       ten disciplinary notices. Pl.’s Dep. Tr. at X.
of supervisor]. Def.’s Dep. Tr. at X.             Plaintiff did not receive a written notice regard-
                                                  ing an alleged late arrival on [date], but only a
                                                  verbal warning. Pl.’s Dep. Tr. at X.
5. Plaintiff was dismissed from her position      5. Admitted.
on [date]. Pl.’s Dep. Tr. at X; Def.’s Dep. Tr.
at X.
6. Plaintiff’s dismissal was based solely on      6. Denied. [Name of Supervisor] fired plaintiff
her failure to report to work at her designated   because of her age. Pl.’s Dep. Tr. at X.
reporting time. Def.’s Dep. Tr. at X.
                                                  7. On month, day, year, [name of supervisor]
                                                  asked plaintiff whether her age caused her to al-
                                                  legedly be late to work. Pl.’s Dep. Tr. at X.
                                                  8. On month, day, year, [name of supervisor]
                                                  told plaintiff that he had never supervised some-
                                                  one as old as her. Pl.’s Dep. Tr. at X.
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ATTACHMENT 3: SAMPLE REPLY TO COUNTER-STATEMENT OF DISPUTED MATE-
                            RIAL FACTS

                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


[NAME(S)],

              Plaintiff(s),

      v.                                                Civil Action No. __-___ (TJK)

[NAME(S)],

              Defendant(s).


 [DEFENDANT’S] REPLY TO COUNTER-STATEMENT OF DISPUTED MATERIAL
                             FACTS

1. Plaintiff began working at [Federal               1. Admitted.
Agency] on [date] as an [title of position].
Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.        2. Admitted.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with           3. Admitted.
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X;
Def.’s Dep. Tr. at X.
4. Plaintiff received five disciplinary notices      4. Denied. Plaintiff received four, not five writ-
during the time she was supervised by [name          ten disciplinary notices. Pl.’s Dep. Tr. at X.
of supervisor]. Def.’s Dep. Tr. at X.                Plaintiff did not receive a written notice regard-
                                                     ing an alleged late arrival on [date], but only a
                                                     verbal warning. Pl.’s Dep. Tr. at X.
5. Plaintiff was dismissed from her position         5. Admitted.
on [date]. Pl.’s Dep. Tr. at X; Def.’s Dep. Tr.
at X.
6. Plaintiff’s dismissal was based solely on         6. Denied. [Name of Supervisor] fired plaintiff
her failure to report to work at her designated      because of her age. Pl.’s Dep. Tr. at X.
reporting time. Def.’s Dep. Tr. at X.
7. Denied. [Name of Supervisor] never asked          7. On month, day, year, [name of supervisor]
plaintiff whether her age caused her to be late to   asked plaintiff whether her age caused her to al-
work. Def.’s Dep. Tr. at X.                          legedly be late to work. Pl.’s Dep. Tr. at X.
8. Denied. [Name of Supervisor] never told           8. On month, day, year, [name of supervisor]
plaintiff that he had never supervised someone       told plaintiff that he had never supervised some-
as old as her. Def.’s Dep. Tr. at X.                 one as old as her. Pl.’s Dep. Tr. at X.
